Case 1:18-md-02865-LAK Document 265 _ Filed 02/03/20 Pagelof3

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February 3, 2020

Via ECF and Personal Service

Honorable Lewis A. Kaplan, United States District Judge
Daniel Patrick Moynihan U.S. Courthouse

500 Pear! Street

New York, NY 10007

RE: Inre: Customs and Tax Administration of the Kingdom of Denmark
(SKAT) Tax Refund Litigation, Master Docket 18-md-2865 (LAK)

Dear Judge Kaplan:

We write to inform you that Defendants in the cases set forth below filed Answers today
with the Court on the dockets for their respective actions. It has come to our attention, via a
letter to Your Honor from counsel for other Defendants (ECF No. 81, February 22, 2019) that
there is no ability to file an answer on the Master Docket and then “spread” the filing to the
individual related action. Therefore, the Answers were filed in their respective dockets, and in
an effort to comply with the Court’s Pretrial Order No. 4, we are attaching the following
Answers, filed today, as exhibits to this Letter:

1. Answer to the Complaint by Azalea Pension Plan and Elizabeth van
Merkensteijn, SKAT v. Azalea Pension Plan et al., Docket Number 1:19-CV-
01893-LAK;

2. Answer to the Complaint and Counterclaims by Basalt Ventures LLC Roth
401(K) Plan and John van Merkensteijn, SKAT v. Basalt Ventures LLC Roth
401(K) Plan et al., Docket Number 1:19-CV-01866-LAK;

3. Answer to the Complaint by Bernina Pension Plan and John van Merkensteijn,
SKAT v, Bernina Pension Plan et al., Docket Number 1:19-CV-01865-LAK;

4. Answer to the Complaint by John van Merkensteijn and Bernina Pension Plan
Trust, SKAT vy. John van Merkensteijn et al., Docket Number 1:19-CV-10713-
LAK;

5. Answer to the Complaint by Michelle Investments Pension Plan and John van
Merkensteijn, SKAT v. Michelle Investments Pension Plan et al., Docket
Number 1:19-CV-01906-LAK;

6. Answer to the Complaint by Omineca Pension Plan and John van
Merkensteijn, SKAT v. Omineca Pension Plan et al., Docket Number 1:19-
CV-01894-LAK;
Case 1:18-md-02865-LAK Document 265 Filed 02/03/20 Page2of3

7. Answer to the Complaint by Remece Investments LLC Pension Plan and John
van Merkensteijn, SKAT v. Remece Investments LLC Pension Plan et al.,
Docket Number 1:19-CV-01911-LAK;

8. Answer to the Complaint and Counterclaims by Starfish Management LLC
Roth 401(K) Plan and John van Merkensteijn, SKAT v. Starfish Management
LLC Roth 401(K) Plan et al., Docket Number 1:19-CV-01871-LAK;

9. Answer to the Complaint by Tarvos Pension Plan and John van Merkensteijn,
SKAT v. Tarvos Pension Plan et al., Docket Number 1:19-CV-01930-LAK;

10. Answer to the Complaint by Voojo Productions LLC Roth 401(K) Plan and
John van Merkensteijn, SKAT v. Voojo Productions LLC Roth 401(K) Plan et
al., Docket Number 1:19-CV-01873-LAK;

11. Answer to the Complaint by Xiphias LLC Pension Plan and John van
Merkensteijn, SKAT v, Xiphias LLC Pension Plan et al., Docket Number
1:19-CV-01924-LAK;

Two copies of this letter and each of the filed Answers set forth above will also be
delivered to your Chambers.

Respectfully submitted,

KOSTELANETZ & FINK, LLP

WKB LIMGS 2

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401(K) Plan, Tarvos Pension Plan,
Case 1:18-md-02865-LAK Document 265 Filed 02/03/20 Page 3of3

Voojo Productions LLC Roth 401(K)
Plan, and Xiphias LLC Pension Plan

cc: Plaintiff's Counsel via ECF.
